
Green, J.
delivered the opinion of the court.
The only question in this case is, do the acts of an agent performed after the death of the principal, in pursuance of authority previously given, and in ignorance of the death of the principal, bind the representative of the latter?,
The general principal of the common law is, that an authority conferred by letter of attorney, must be executed during the life of the principal. 1 Bac. Ab. Tit. Authority E. The death of the principal is an instantaneous and absolute revocation of the authority of the agent, unless the power be coupled with an interest. 2 Kent’s Com. 645.
In this case, William Cage, the defendant’s intestate, was dead when the goods were purchased in Philadelphia by Bledsoe the agent. They have never come into the hands of the administrator, but were received by the surviving partner and appropriated by him. Let the judgment be affirmed. ■"'’LL'
